Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 1 of 10 Pageid#:
                                   16673




                    EXHIBIT 6
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 2 of 10 Pageid#:
                                   16674



                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


 ELIZABETH SINES, SETH WISPEL WEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, and JOHN DOE,

                        Plaintiffs,

 V.                                                             Civil Action No.: 3: l 7CV00072

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES ALEX
 FIELDS, JR., VAN GUARD AMERICA,
 ANDREW ANGLIN, MOONBASE
 HOLDINGS, LLC, ROBERT '"AZZMADOR"
 RAY, NATHAN DAMI GO, ELLIOTT
 KLINE a/k/a ELI MOSELEY, IDENTITY
 EVROPA, MATTHEW HEIMBACH, MATTHEW
 PARROTT a/k/a DAYID MA TT HEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS, LEAGUE
 OF THE SOUTH, JEFF SCHOEP, NATIONAL
 SOCIALIST MOVEMENT, NATIONALIST
 FRONT, AUGUSTUS SOL INVICTUS,
 FRATERNAL ORDER OF THE ALT-KNIGHTS,
 MICHAEL "ENOCH" PEINOVICH, LOY AL
 WHITE KNIGHTS OF THE KU KLUX KLAN,
 and EAST COAST KNIGHTS OF THE KU KLUX
 KLAN a/k/a EAST COAST KNIGHTS OF THE
 TRUE INVISIBLE EMPIRE,

                       Defendants.

            DEFENDANT FIELDS' ANSWERS TO PLAINTIFFS' THIRD SET OF
               INTERROGATORIES TO ALL INDIVIDUAL DEFENDANTS

        COMES NOW Defendant JAMES ALEX FIELDS, JR. ("Fields"), by counsel, and for his

Answers to Plaintiffs· Third Set oflnterrogatories, states as follows:

                                                   1
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 3 of 10 Pageid#:
                                   16675



         I.      For each social media or email account you have used or created, identify (a) the

 social media or email provider (including, but not limite to, lnstagram, Facebook, Twitter,

 YouTube, Discover, and Google gmail), (b) the date the account was created, (c) all usemames,

 handles, passwords, pseudonyms, Social Media Handles, names, phone numbers, aliases, account

 identifiers, and email addresses associated with the account, and (d) all persons who have had

 access to the account and the date( s) during which they had access ..

         ANSWER:          (a) Fields has previously answered this interrogatory in prior discovery.

 Fields restates that he has not had access to his cell phone or computer since the afternoon of August

 12, 2017 and has not logged on to a single social media account in over three years. Thereby, he

 has no means to attempt to locate additional infom1ation. As previously provided in discovery,

 Fields recalls @TheNewGiantDad was a Twitter account. His Facebook account had a usemame

 james.fields.9279 and a display name of'·ConsciousOvisAries." Fields had a Discord account -

 used only for gaming - but does not recall the user or account name. Fields had a YouTube account

 but does not recall the username or display name.

        (b) Fields does not recall the specific date any account was created and has no manner by

 which to attempt to obtain this information.

        (c) See above. Fields does not recall any additional user or display names for any such

 account. Fields notes that Plaintiffs' counsel has received voluminous electronic discovery

 regarding the Conm1onwealth of Virginia and FBI investigation results of his social media accounts.

 While he does not recall the specific cormnunications contained therein, Fields does not dispute the

 accuracy of the reports and incorporates same into his answer by reference.

        (d) Fields is not aware of anyone else having access to any of his social media accounts


                                                     2
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 4 of 10 Pageid#:
                                   16676



 before August 12, 2017. Upon information and belief, law enforcement had access to Fields' social

 media accounts after August 12, 201 7.


 2.      Describe in detail the substance of all conununications, whether oral or written, between you

 and any other person or entity concerning the Unite the Right rally .

         ANSWER:        .Other than the communications described herein and in his other answers to

 discovery in this case, Fields recalls receiving correspondence in jail that can predominantly be

 described as hate mail. Fields did receive a small percentage of supportive letters from various

 unknown sympathizers or members of organizations that attended or supported the Rally. Fields did

 not know these people prior to Unite the Right. Fields has also exchanged letters with his mother and

 his attorneys.   Fields recalls receiving two Christmas cards from Vanguard America while

 incarcerated.

         Fields recall discussing the events of August 12 with other Rally attendees who were

 incarcerated in the weeks after August 12. In regard to the specifics of those conversations while

 incarcerated, Fields hereby asserts and relies upon his 5th Amendment Right of the US Constitution

 against self~incrimination.

        Fields notes that Plaintiffs' counsel has received voluminous electronic discovery regarding

 the Commonwealth of Virginia and FBI investigation results of his social media accounts. While he

 does not recall the specific communications contained therein, Fields does not dispute the accuracy

 of the reports and incorporates same into his answer by reference.



3.      Identify ever person or entity with whom you communicated on August 12, 2017, whether

orally or in writing and, for each such person or entity, describe in detail the substance of the

                                                   3
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 5 of 10 Pageid#:
                                   16677



 commw1ications.

         ANSWER:         Fields does not recall everyone he commW1icated with on August 12,2017.

 Fields recalls communicating with individuals he believed to be members of Vanguard America. One

 individual offered him a shield, which Fields accepted.       He does not know the identity of that

 individual or any other member of Vanguard America with whom he may have interacted on August

 12, 2017, as he was never a member. Fields recalls a lot of yelling and screaming and noise but no

 specific conversations while in Lee Park. Fields does recall chanting along with other Rally attendees

 but does not recall the specific words uttered. Fields recalls various interactions with protesters

 involving basically yelling back and forth. He does not recall the specific statements made and does

 not know the identity of any coW1ter protester with whom he interacted. Fields recalls generally

 discussing potentially getting something to eat with the three individuals walking back from McIntire

 Park. While he did not know their nan1es at the time, Fields has learned their names are Sarah Bolstad,

 Hayden Lee Calhoun, and Joshua Matthews. He recalls they declined preferring to leave town and

 he gave them rides to their respective vehicles. Thereafter, Fields spoke only with members oflaw

 enforcement. Regarding commW1ications with law enforcement, Fields hereby asserts and relies

 upon his 5th Amendment Right of the US Constitution against self-incrimination



 4.     Identify every person or entity with whom you communicated between January 1, 2017 and

 August 13, 2017, whether orally or in writing, concerning individuals or groups who are non-white,

 Jewish, Muslim, Hispanic, black, or politically liberal and, for each such person or entity, describe in

 detail the substance of the communications.

        ANSWER:         Fields does not recall every person or entity he commW1icated with over a


                                                    4
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 6 of 10 Pageid#:
                                   16678



 seven and one half month time period over three years ago. As previously indicated in discovery,

 Fields recalls posting a direct message to David Duke and Richard Spencer, neither of which was

 returned. He recalls following Richard Spencer on YouTube and Twitter. Fields recalls following

 Augustus Sol Jnvictus and Michael Peinovich on Twitter. Fields also notes that Plaintiffs' counsel

 has received voluminous electronic discovery regarding the Commonwealth of Virginia and FBI

 investigation results of his social media accounts.          While he does not recall the specific

 communications contained therein, Fields does not dispute the accuracy of the reports and

 incorporates same into his answer by reference. Fields generally recalls posting antagonistic and

 provocative material on Twitter, YouTube and possibly Facebook during this time period that often

 denigrated people of color and politically liberal individuals.



 5.      Describe in detail how you learned about the Unite the Right rally.

         ANSWER:         Fields does not specifically recall when he learned about the Unite the Right

 Rally. Upon information and belief: Fields saw social media postings about the Rally a month or so

 prior to the Rally. Most likely, these postings would have been on the social media - likely Twitter

 - accounts of one or more of the following individuals: Augustus Sol lnvictus, Richard Spencer,

 David Duke, or Michael Peinovich.



 6.     Describe in detail all reasons you attended the Unite the Right rally, including but not limited

 to, (a) when you made the decision to attend, (b) why you chose to attend, and (c) your purposes and

 goals of attending.

        ANSWER:        (a) Fields hoped to attend the Rally when he first heard about the Rally


                                                    5
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 7 of 10 Pageid#:
                                   16679



 approximately one month prior to the rally. He requested time off from work but was unsure whether

 the request was granted until a day or two before the Rally.

 (b) Fields attended the Rally to see the speakers.

 (c) Fields hoped to hear the speakers and perhaps have the opportunity to meet some of them.



 7.      Describe in detail your actions at the Unite the Right rally and during the day of August 12,

 2017, including, but not limited to, (a) the approximate time and locations where you were present,

 (b) your actions at each location, and (c) the identity of each person and/or group you were with.

         ANSWER: While this interrogatory seeks a level of detail and recall well beyond human

 comprehension more than three years later, the following is what Fields can currently recall.

 Fields traveled from Maumee, Ohio to Charlottesville, Virginia the night of August 11 and early

 morning of August 12, 2017. Upon his arrival in Charlottesville in the early morning hours of August

 12 - perhaps an hour or two before dawn - Fields parked in the McDonalds parking lot on 5th Street

 and played video games on his cellular phone. After the sun came up, Fields recalls getting something

 to eat. Sometime thereafter, perhaps between 8 and 9 a.m., he began walking towards Lee Park

 (currently Market Street Park) when he observed other individuals whom he believed to be Rally

 attendees arriving. Fields does not know the identity of any of these individuals. Fields approached

 a group of individuals dressed in similar attire. He generally recalls expressing surprise at the hostility

 of counter protestors. He does not recall the identity of any person in that group nor the specifics of

 any conversation.

         An unknown member of Vanguard America offered Fields a shield. Fields took the shield

and carried it on August 12, 2017, walking with members of Vanguard America to Lee Park for the


                                                      6
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 8 of 10 Pageid#:
                                   16680



 Rally. Fields remained in Lee Park in the vicinity of Vanguard America members for some time.

 After police declared an unlawful assembly, Fields walked with a group of Rally attendees to McIntire

 Park. Fields does not know the name or identity of any of that group of people but believed some to

 be members of Vanguard America. After a short time at McIntire Park, Fields walked back to his car

 behind the McDonald's on 5th Street in Charlottesville with three other individuals who were present

 at Mcintire Park and who Fields believed to be Rally attendees. While he did not know their names

 at the time, Fields has learned these individuals' names are Sarah Bolstad, Hayden Lee Calhoun, and

 Joshua Matthews. Fields gave them rides to their vehicles. After dropping off the last person, Fields

 recalls putting Maumee, Ohio into his GPS and beginning to attempt to proceed home.

         Beyond that time, Fields hereby asserts and relies upon his 5th Amendment Right of the US

 Constitution against self-incrimination.



 8.      Describe in detail all reasons that you, on August 12, 2017, (a) wore a white polo shirt, (b)

 wore khaki pants, and (c) carried a Vanguard America shield.

         ANSWER: Fields wore a white polo shirt and khaki pants because he thought they looked

 neat. Further, he read social media posts indicating that this was the sort of attire the event organizers

 desired rally attendees to wear to make a good impression on individuals who might observe the rally.

 Fields' white polo shirt did not contain the Vanguard America logo, and he has never been a member

 of that group. Fields carried a Vanguard America shield on August 12, 2017, because a member of

 Vanguard America offered him the shield. After arriving at the Rally, Fields realized his attendance

 at the Rally would be more dangerous than he previously anticipated. He accepted the shield to block

 projectiles being thrown at him and other Rally attendees.


                                                     7
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 9 of 10 Pageid#:
                                   16681




                                                       Respectfully submitted,

                                                       JAMES ALEX FIELDS, JR.
                                                       By Counsel


                                                       David L. Hauck, Esquire (VSB# 20565)
                                                       David L. Campbell, Esquire (VSB #75960)
                                                       DUANE, HAUCK, DAVIS & GRAVATT, P.C.
                                                       100 West Franklin Street
                                                       Richmond, Virginia 23220
                                                       Telephone: 804-644-7400
                                                       Facsimile: 804-303-8911
                                                       dcampbell@dhdglaw.com
                                                       Counse/fiJr Defendant James A. Fie/di·, Jr.

                                  CERTIFICATE OF SERVICE

        I hereby certify that on this    _}j___l!day of September, 2020,   I provided copies of the
 foregoing via email to the following:

                                         Robert T. Cahill, Esquire
                                         Cooley, LLP
                                         11951 Freedom Drive, 14th Floor
                                         Reston, Virginia 20190-5656
                                         CounselfiJr Plaintiff

                                         Roberta A. Kaplan, Esquire
                                         Julie E. Fink, Esquire
                                         Kaplan & Company, LLP
                                         350 Fifth Avenue, Suite 7110
                                         New York, New York 10118

                                         Karen L. Dunn, Esquire
                                         William A. Isaacson, Esquire
                                         Boies Schiller Flexner LLP
                                         1401 New York Ave, NW
                                         Washington, DC 20005
                                         Philip M. Bowman, Esquire
                                         Boies Schiller Flexner LLP
                                         575 Lexington Avenue
                                         New York, New York 10022

                                                   8
Case 3:17-cv-00072-NKM-JCH Document 1003-8 Filed 08/11/21 Page 10 of 10 Pageid#:
                                    16682




                                       Alan Levine, Esquire
                                       Cooley LLP
                                       1114 Avenue of the Americas, 46 th Floor
                                       New York, New York I 0036

                                       David E. Mills, Esquire
                                       Cooley LLP
                                       1299 Pennsylvania Avenue, NW
                                       Suite 700
                                       Washington, DC 20004

                                       Brian Jeffrey Jones, Esq.
                                       106 W. South Street, Suite 211
                                       Charlottesville, Virginia 22902
                                       Allorney for Defendanls Michael Hill, Michael Tubbs, and
                                       /he League of the South

                                      Elmer Woodard, Esquire
                                      5661 US Hwy. 29
                                      Blairs, Virginia 24527
                                      Attorney fiJr Defimdanls Christopher Cantwell, Nathan
                                      Damigo, Matthew Heimbach, Identity Europa, Jason
                                      Kessler. Elliot Kline, National Socialist Movement,
                                      Nationalist Front, Mal/hew Parrott, Jeff Schoep,
                                      Traditionalist Worker Party, Vanguard America, and Robert
                                      Ray

                                      Michael Peinovich, Defendant pro se
                                      519 E. 82 11d Street, Apt. 2C
                                      New York, NY 10028

         And I hereby certify that I will mail the document by U.S. mail to the following non-
 filing users:


                                      Richard Spencer
                                      100 I-A King Street
                                      Alexandria, Virginia 22314

                                      Loyal White Knights of the Ku Klux Klan
                                      c/o Chris and Amanda Baker
                                      PO Box 54
                                      Pelham, NC 27311

                                                 9
